  Case 1:11-cv-00646-ER Document 19 Filed 10/18/11 Page 1 of 1 PageID #: 142



                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

                                              )
GEORGE STRUM, On Behalf of Himself and )
All Others Similarly Situated Shareholders of )
China Security & Surveillance Technology,     )
Inc.,                                         )
                                              )
                      Plaintiff,              )
                                              )   Case No. 1:11-cv-00646-ER
       vs.                                    )
                                              )
CHINA SECURITY & SURVEILLANCE                 )
TECHNOLOGY, INC., RIGHTMARK                   )
HOLDINGS LIMITED, RIGHTMARK                   )
MERGER SUB LIMITED, GUOSHEN TU,               )
TERENCE YAP, RUNSEN LI, PETER MAK )
and ROBERT SHIVER,                            )
                                              )
                      Defendants.             )
                                              )

                                 NOTICE OF DISMISSAL

              Plaintiff George Strum, pursuant to Federal Rule of Civil Procedure 41(a), hereby

dismisses the above-captioned complaint without prejudice.

Dated: October 18, 2011                     O’KELLY & ERNST, LLC

                                            /s/ Ryan M. Ernst
                                            Ryan M. Ernst (#4788)
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